Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 1 of 7



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                     CASE NO. 19-cv-21978

  MARCO POLO VITAL,

          Plaintiff,

  v.

  NORTHSTAR LOCATION SERVICES, LLC,
  ALLIED INTERSTATE, LLC
  and NAVIENT SOLUTIONS, LLC,

        Defendants.
  ____________________________________________/

                                           COMPLAINT
                                          JURY DEMAND

          1.      Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15 U.S.C.

  §1692 et seq. (“FDCPA”), and the Florida Consumer Collection Practices Act, Fla. Stat. §559.55

  et seq. (“FCCPA”),

                                    JURISDICTION AND VENUE

          2.      This Court has jurisdiction under 28 U.S.C. §§1331, 1367 and 15 U.S.C. §1692k.

  Venue in this District is proper because Plaintiff resides here and Defendant sent letters into this

  District and sued in this District.

                                              PARTIES

          3.      Plaintiff, MARCO POLO VITAL (“VITAL”), is a natural person, and citizen of

  the State of Florida, residing in Miami-Dade County, Florida.

          4.      Defendant, NORTHSTAR LOCATION SERVICES, LLC (“NLS”), is a limited

  liability company organized under the laws of the State of New York. Its principal place of

  business is at 4285 Genesee St., Cheektowaga, NY 14225.
Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 2 of 7



         5.      NLS is registered with the Florida Department of State Division of Corporations

  as a limited liability company. Its registered agent for service of process is CT Corporation

  System, 1200 S. Pine Island Rd., Plantation, Florida 33324.

         6.      NLS regularly uses the mail and telephone in a business the principal purpose of

  which is the collection of debts.

         7.      NLS regularly collects or attempts to collect debts for other parties.

         8.      Defendant, NLS, is a “debt collector” as defined in the FDCPA.

         9.      NLS is a creditor as defined by the FCCPA.

         10.     Defendant, ALLIED INTERSTATE, LLC (“Allied”), is a limited liability

  company organized under the laws of the State of Minnesota. Its principal place of business is at

  12755 Hwy 55, Plymouth, MN 55411.

         11.     Allied is registered with the Florida Department of State Division of Corporations

  as a limited liability company. Its registered agent for service of process is CT Corporation

  System, 1200 S. Pine Island Rd., Plantation, Florida 33324.

         12.     Allied regularly uses the mail and telephone in a business the principal purpose of

  which is the collection of debts.

         13.     Allied regularly collects or attempts to collect debts for other parties.

         14.     Allied is a “debt collector” as defined in the FDCPA.

         15.     Allied is a creditor as defined by the FCCPA.

         16.     Defendant, NAVIENT SOLUTIONS, LLC (“Navient”), is a Delaware

  corporation with its principal place of business located at 2001 Edmund Halley Dr., Reston,

  Virginia 20191-3436




                                                   2
Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 3 of 7



          17.     Navient is registered with the Florida Department of State Division of

  Corporations as a limited liability company. Its registered agent for service of process is

  Corporation Service Co., 1201 Hays St., Tallahassee, FL 32301.

          18.     Navient regularly uses the mail and telephone in a business the principal purpose

  of which is the collection of debts.

          19.     Defendant, Navient, is a creditor as defined by the FCCPA.

                                    FACTUAL ALLEGATIONS

          20.     Defendants sought to collect from Plaintiff an alleged debt for a consumer loan.

          21.     The debt was for a personal, household, or family purpose.

          22.     Marie C. Desrivieres (“Desrivieres”) took out a private student loan with Navient.

          23.     She forged Plaintiff’s signature on the loan documents as a co-signer.

          24.     Plaintiff did not agree to co-sign a student loan or any loan with Navient on behalf

  of Marie C. Desrivieres (“Desrivieres Loan”).

          25.     Plaintiff did not sign any loan or other documents on behalf of Desrivieres.

          26.     Plaintiff was not aware that he was listed as a co-signer for any loan with Navient.

          27.     When Plaintiff became aware that Navient considered him to be jointly and

  severally liable for the Desrivieres loan, he disputed the loan with Navient.

          28.     Plaintiff also disputed the debt with the three (3) credit reporting agencies:

  Equifax, Experian, and Transunion.

          29.     Each of the credit reporting agencies removed the fraudulent account from

  Plaintiff’s credit report.

          30.     Plaintiff, on March 5, 2017, filed a police report regarding the fraudulent student

  loan. This report was sent with a letter to Navient on or about June 5, 2017.




                                                   3
Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 4 of 7



          31.    Defendants, unlike the three (3) credit reporting agencies, refused to believe

  Plaintiff’s sworn claim that he did not sign any loan documents on behalf of Marie C.

  Desrivieres.

          32.    Defendants have no proof that Plaintiff signed the Desrivieres loan documents.

          33.    Defendants, improperly, illegally, and with no basis in fact or law, continued to

  attempt to collect on the Desrivieres student loan.

          34.    Plaintiff filed suit against Navient on January 10, 2018, in Miami-Dade County

  state court and Navient was served on February 2, 2018.

          35.    Navient was aware of Plaintiff’s disputes as of June 14, 2017.

          36.    Notwithstanding that Plaintiff disputed the debt with Navient and filed suit

  against Navient for attempting to collect an invalid debt, Navient referred the Desrivieres loan to

  both Allied and NLS.

          37.    Defendants are or should be fully aware that Plaintiff is not responsible for the

  Desrivieres loan and continue to attempt to collect on that debt.

          38.    Subsequent to the filing of the state court lawsuit, all Defendants sent

  communications directly to Plaintiff. Copies of multiple letters from Navient, NLS and Allied

  are attached as Composite Exhibit “A.”

          39.    Plaintiff’s attorney had not consented to Defendants’ direct communication with

  Plaintiff.

          40.    Plaintiff’s attorney had not failed to respond to any communication of Defendants

  within a reasonable amount of time.

          41.    No court had authorized Defendants’ direct communication with Plaintiff.




                                                   4
Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 5 of 7



         42.     At the time Defendants sent letters to Plaintiff, Defendants knew the FDCPA and

  FCCPA prohibited them from communicating directly with Plaintiff.

         43.     Defendants’ actions caused Plaintiff to incur actual damages including attorney’s

  fees and emotional pain and suffering.

                                   COUNT I
        COMMUNICATION WITH A CONSUMER REPRESENTED BY COUNSEL
         IN VIOLATION OF 15 U.S.C §1692c(a)(2) AGAINST NLS AND ALLIED

         44.     Plaintiff incorporates Paragraphs 1 through 43.

         45.     Defendants, NLS and Allied, communicated directly with Plaintiff when

  Defendants knew Plaintiff was represented by an attorney in violation of 15 U.S.C. §1692c(a)(2).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Defendants, NLS and Allied for:

                 a.     Actual and statutory damages;

                 b.     Attorney’s fees, litigation expenses and costs of suit; and

                 c.     Such other and further relief as the Court deems proper.

                                  COUNT II
        COMMUNICATION WITH A CONSUMER REPRESENTED BY COUNSEL
        IN VIOLATION OF FLA. STAT. §559.72(18) AGAINST ALL DEFENDANTS

         46.     Plaintiff incorporates Paragraphs 1 through 43.

         47.     Defendants communicated directly with Plaintiff when Defendants knew Plaintiff

  was represented by an attorney in violation of Fla. Stat. §559.72(18).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Defendants, NLS and Allied for:

                 a.     Actual and statutory damages;

                 b.     Attorney’s fees, litigation expenses and costs of suit; and




                                                  5
Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 6 of 7



                 c.      Such other and further relief as the Court deems proper.

                                  COUNT III
                  ATTEMPTING TO ENFORCE AN INVALID DEBT
         IN VIOLATION OF FLA. STAT. §559.72(9) AGAINST ALL DEFENDANTS

         48.     Plaintiff incorporates Paragraphs 1 through 43.

         49.     Defendants are or were attempting to collect a debt that they know is not

  legitimate in violation of Fla. Stat. §559.72(9).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Defendants, NLS and Allied for:

                 a.      Damages;

                 b.      Attorney’s fees, litigation expenses and costs of suit; and

                 c.      Such other or further relief as the Court deems proper.

                               COUNT IV
      DISCLOSING INFORMATION CONCERNING A DEBT WHEN THE DEBT
    WAS DISPUTED IN VIOLATION OF FLA. STAT. §559.72(6) AGAINST NAVIENT

         50.     Plaintiff incorporates Paragraphs 1 through 43.

         51.     Navient referred the Desrivieres loan to NLS and Allied to collect the debt.

         52.     Navient disclosed to NLS and Allied information concerning the existence of the

  debt that was known to be reasonably disputed by Plaintiff without disclosing that the debt was

  disputed in violation of Fla. Stat. §559.72(6).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Defendants, NLS and Allied for:

                 a.      Damages;

                 b.      Attorney’s fees, litigation expenses and costs of suit; and

                 c.      Such other or further relief as the Court deems proper.




                                                      6
Case 1:19-cv-21978-KMW Document 1 Entered on FLSD Docket 05/15/2019 Page 7 of 7



                                 COUNT V
       COMMUNICATING WITH SUCH FREQUENCY AS TO HARASS PLAINTIFF
           IN VIOLATION OF FLA. STAT. §559.72(7) AGAINST NAVIENT

          53.     Plaintiff incorporates Paragraphs 1 through 43.

          54.     Navient by sending letters and referring the disputed debt to Defendants, NLS and

  Allied, willfully engaged in conduct which could reasonably be expected to abuse or harass the

  Plaintiff in violation of Fla. Stat. §559.72(7).

          WHEREFORE, Plaintiff requests that the Court enter judgment in favor of Plaintiff and

  against Defendant, Navient for:

                  a.      Damages;

                  b.      Attorney’s fees, litigation expenses and costs of suit; and

                  c.      Such other or further relief as the Court deems proper.

                                                JURY DEMAND

          Plaintiff demands trial by jury.

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                                                           /s/ Joel D. Lucoff
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                                                     7
